             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:15-cr-00076-MR-DLH-2


UNITED STATES OF AMERICA,        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )                          ORDER
                                 )
KEITH HOOPER,                    )
                                 )
                   Defendant.    )
________________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 40].

     Upon review of the Government’s motion,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 40] is GRANTED, and the Bill of Indictment filed in the above-

captioned case is hereby DISMISSED WITHOUT PREJUDICE.

     The Clerk is directed to provide copies of this Order to counsel for the

Government, counsel for the Defendant, and the U.S. Probation Office.

     IT IS SO ORDERED.          Signed: February 19, 2016




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